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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

United States of America,

       Plaintiff,

v.                                            Criminal Case No. 13-20184

Rickey Lee Martin, Jr.,                       Honorable Sean F. Cox

      Defendant.
_____________________________/

                                      OPINION & ORDER

       Defendant Rickey Lee Martin, Jr. (“Martin”) is charged with one count of being a felon

in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1). But this is not a typical felon-

in-possession case where the Defendant is arrested or stopped by the police and is found to have

a fiream on his or her person. The Government seeks to establish that it was Martin who was

driving a certain vehicle that was being pursued by the police when the driver tossed a gun from

the vehicle and then fled on foot. The driver of the vehicle, however, was not apprehended at the

scene. The police later arrested and charged Martin.

       The parties have filed the following motions which were heard by the Court on July 16,

2013: 1) the Government’s Motion to Admit 404(b) Evidence (Docket Entry No. 17); 2)

Martin’s Motion for Disclosure of Discovery and Brady/Giglio Material (Docket Entry No. 19);

and 3) Defendant’s Motion to Exclude Evidence of Defendant’s Prior Convictions (Docket Entry

No. 21).

       For the reasons set forth below, the Court shall deny the Government’s Motion to Admit

404(b) Evidence because the Court does not believe the Government has established a proper

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purpose for the admission of the evidence at issue and, even if it could, the probative value of

that evidence would be substantially outweighed by the prejudicial effect of the evidence.

       The Court shall also grant Defendant’s related motion to Exclude Evidence of

Defendant’s Prior Criminal Convictions. The Court’s ruling on this motion, however, does not

apply to certain portions of an audio tape that were referenced for the first time at the July 16,

2013 hearing.

       Finally, the Court shall deny without prejudice Defendant’s overly-broad and unspecified

discovery motion.

                                         BACKGROUND

       On January 31, 2013, at approximately 11:30 p.m., Chavonne Simmons (“Simmons”)

placed a 911 call to the Westland Police, stating that a man was at her front door threatening her

with a gun. She allegedly told the dispatcher that it was Martin outside her door with a hand

gun. She allegedly gave a description of Martin and said that he arrived at her house in a white

Impala car. She also told the dispatcher that her child’s father, later identified as Jawara Nelson

was in the house with her.

       Officers were en route to Simmons’s residence when they were re-directed to a nearby

spot on Michigan Avenue where the white Impala had been spotted. They approached and

pursued the white Impala. There were multiple police vehicles. During the pursuit, during which

sirens and lights were activated, a hand gun was tossed out of the driver’s side of the Impala.

The Impala ultimately stopped and the driver fled on foot. The officers recovered the gun that

had been tossed from the vehicle. The officers believed the driver entered a specific house but

they did not attempt to enter the house, instead opting to impound and tow the vehicle and obtain


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charges against Martin. The Impala had apparently been rented by Simmons a few days prior to

the incident.

                                           ANALYSIS

I.     The Government’s Motion To Admit 404(b) Evidence and Defendant Martin’s
       Motion To Exclude Evidence Of Defendant’s Prior Convictions And Prior Conduct

       On May 23, 2013, the Government filed a motion asking the Court to admit certain

evidence under Fed. R. Evid. 404(B). (Docket Entry No. 17).

       Martin filed a response opposing that motion and also filed his own Motion asking the

Court to issue an order, under Fed. R. Evid. 609 and 403, excluding from trial all evidence of his

prior convictions and prior charged and uncharged conduct. (Docket Entry No. 21). Although

Martin references Fed. R. Evid. 609 in his motion, the Government does not appear to want to

use Martin’s prior convictions for impeachment purposes, and therefore the Court finds that

these motions should be evaluated under Fed. R. Evid. 404(b), which has a 403-unfair-prejudice

inquiry built into the analysis. The Court will therefore analyze both of these pending motions

under Fed. R. Evid. 404(b).

       “Rule 404(b) bars the admission of ‘propensity evidence,’ defined as ‘[e]vidence of a

crime, wrong, or other act . . . To prove a person’s character in order to show that on a particular

occasion the person acted in accordance with the character.” Flagg v. City of Detroit, 715 F.3d

165, 175 (6th Cir. 2013) (quoting Fed. R. Evid. 404(b)(1)). “However, it permits the admission

of prior ‘bad acts’ for other purposes, ‘such as proving motive, opportunity, intent, preparation,

plan, knowledge, identity, absence of mistake, or lack of accident.’” Id. (quoting Fed. R. Evid.

404(b)(2)).

       “The Rule 404(b) inquiry consists of three parts. First, the trial court must make a

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preliminary determination as to whether sufficient evidence exists that the prior act occurred.

Second, the district court must make a determination as whether the ‘other act’ is admissible for

a proper purpose under Rule 404(b). Third, the district court must determine whether the ‘other

acts’ evidence is more prejudicial than probative under Rule 403.” United States v. Mack, 258

F.3d 548, 554 (6th Cir. 2001); see also Flagg, 715 F.3d at 176.

       Here, the Government wishes to present evidence of Martin’s prior firearms convictions

and concomitant conduct. The conduct at issue occurred on December 20, 2000, and on May 21,

2002. The Government describes the uncharged conduct at issue as follows:

       (i) The December 20, 2000 gun incident
               On December 20, 2000, Inkster Police conducted a traffic stop upon a
       vehicle driven by defendant Martin. After defendant Martin was asked to exit the
       vehicle, he fled onto a porch and tossed a black firearm into the bushes. On
       February 21, 2001, Mr. Martin pled guilty to the offense in the Wayne County
       Circuit Court. On March 21, 2001, defendant Martin was sentenced to two years
       probation with the first six months in the Wayne County Jail. On January 24,
       2001, a probation violation warrant issued due to another gun arrest on December
       19, 2001. On May 15, 2002, Mr. Martin’s probation was closed without
       improvement.

       (ii) The May 21, 2002 gun incident
               On May 21, 2002, six days after the above matter was closed without
       improvement, the defendant was walking through the City of Inkster housing
       property with an individual named Barry Leroy-Rondre Alexander. Both
       individuals had previously seen served with disbarment letters which precluded
       them from entering onto City of Inkster housing property and subjected them to
       arrest for trespassing upon violation. As officers were approaching the
       individuals, defendant Martin began to flee, with an officer chasing him, while
       Alexander was taken into custody. Defendant Martin was observed bobbling a
       firearm he was holding. Eventually, defendant Martin tossed the firearm.
               A jury, in the United States District Court for the Eastern District of
       Michigan, convicted the defendant of Felon in Possession of a Firearm for this
       offense . . .

(Govt’s Br., D.E. No. 17, at 5-6).

       Given that Martin was convicted as to the uncharged conduct at issue, there does not

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appear to be any dispute as to the first inquiry – whether sufficient evidence exists that the prior

act occurred. Rather, the real inquiry is whether there is a proper purpose for the Government’s

use of the evidence and whether that evidence is more prejudicial than probative.

        In United States v. Merriweather, 78 F.3d 1070 (6th Cir. 1996), the Sixth Circuit set forth

the proper procedure for a making a Rule 404(b) determination:

        Upon objection by the defendant, the proponent of the evidence, usually the
        government, should be required to identify the specific purpose or purposes for
        which the government offers the evidence of “other crimes, wrongs, or acts.” By
        so requiring, we do not mandate hyper technicality. It is true that whether 404(b)
        evidence is admissible for a particular purpose will sometimes be unclear until
        late in the trial because whether a fact is “in issue” often depends on the
        defendant's theory and the proofs as they develop. Nevertheless, the government's
        purpose in introducing the evidence must be to prove a fact that the defendant has
        placed, or conceivably will place, in issue, or a fact that the statutory elements
        obligate the government to prove.
         After requiring the proponent to identify the specific purpose for which the
        evidence is offered, the district court must determine whether the identified
        purpose, whether to prove motive or intent or identity some other purpose, is
        “material”; that is, whether it is “in issue” in the case. If the court finds it is, the
        court must then determine, before admitting the other acts evidence, whether the
        probative value of the evidence is substantially outweighed by the danger of
        unfair prejudice under Rule 403. If the evidence satisfies Rule 403, then, after
        receiving the evidence, the district court must “clearly, simply, and correctly”
        instruct the jury as to the specific purpose for which they may consider the
        evidence. Johnson, 27 F.3d at 1193.

Id. at 1076-77 (emphasis in original).

        As the proponent of the evidence, the Government is required to identify the specific

purpose or purposes for which the Government seeks to offer the evidence. Id. After the

Government does so, the Court determines whether each purpose identified by the Government

is “material”; that is, whether it is “in issue” in the case. Id.

        Here, the Government notes that Martin claimed, at the February 26, 2013 Duty Court


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hearing, that he did not commit the charged offense. The Government therefore contends that

the issues at trial, and Martin’s defense, will involve identity as well as the elements of the felon

in possession offense. Those elements, under the Sixth Circuit Pattern Criminal Jury

Instructions (2013 Edition, § 12.01), are: 1) Defendant having been convicted of a felony

punishable by imprisonment for more than one year; 2) Defendant knowingly possessed the

firearm specified in the Indictment; and 3) the firearm specified in the Indictment traveled in or

affected interstate commerce. The Government states that it intends to offer the events of

December 20, 2000, and May 15, 2002, for the following purposes:

       1.      That on the dates of December 20, 2000 and May 21, 2002, as well as on
               the date of the instant charged offense, the defendant knowingly possessed
               firearms. (Knowledge, Absence of Mistake, Lack of Accident).
       ....

       2.      That on the dates of December 20, 2000 and May 21, 2002, as well as on
               the date of the instant charged offense, the defendant purposefully tossed
               firearms while being pursued by law enforcement officers in order to
               avoid being caught in actual possession of the firearms. (Plan, Method of
               Operation, Absence of Mistake, Lack of Accident).

       3.      That on the dates of December 20, 2000 and May 21, 2002, as well as on
               the date of the instant charged offense, the defendant purposefully tossed
               firearms when being pursued by law enforcement officers. (Identity).

(Govt.’s Br., D.E. No. 17, at 7-8). The Government’s brief then further discusses each of the

above purposes in its brief and cites to cases supporting its positions.

       Defendant disagrees and argues that the Government has not specified a proper purpose

for the evidence. And Defendant’s papers stress his position that any probative value is

substantially outweighed by the prejudicial effect of the evidence in question.

       Having considered the Government’s stated purposes, and its arguments in support of its


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motion, this Court concludes that the Government has not established a proper purpose for the

admission of the evidence at issue.

        Moreover, even if the Government could establish a proper purpose for the evidence, this

Court finds that the probative value of the evidence would be substantially outweighed by the

prejudicial effect.

        The determination as to whether the probative value of the evidence is outweighed by the

prejudicial effect of that evidence is left to the sound discretion of the Court. “One factor in

balancing unfair prejudice against probative value under Rule 403 is the availability of other

means of proof.” Merriweather, 78 F.3d at 1077. Here, Martin’s prior convictions are not the

only evidence that the Government can use to establish the essential elements of the offense.

        Another consideration is whether the “reverberating clang” of the evidence that

Defendant committed the same or similar crime on another occasion will “drown the weaker

sound” of the other evidence in the case, “leaving the jury to hear only the inference that if the

defendant did it before, he probably did it again.” Id. The Court finds that is the case here.

        Accordingly, the Court shall deny the Government’s Motion to Admit 404(b) Evidence.

        The Court shall also grant Defendant’s related motion to Exclude Evidence of

Defendant’s Prior Criminal Convictions. The Court’s ruling on this motion, however, does not

apply to certain portions of an audio recording that were referenced by Defense Counsel for the

first time at the July 16, 2013 hearing. At the hearing, Defense Counsel stated for the first time

that certain portions of audio recordings during the police pursuit should be excluded at trial.

Defendant’s motion did not include this argument and the motion did not attach a copy of the

portion of the audio recording at issue. As such, the Government did not have an opportunity to


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respond to this request and this issue has not been developed. The Court shall therefore

determine the admissibility of the portion of the audio recording at issue at trial.

II.      Defendant Martin’s Motion For Disclosure Of Discovery And Brady/Giglio Material

         In this motion, Martin requests that the Court order the Government to promptly disclose

Brady and Giglio material, and all discovery material pursuant to the Standing order and Rule 16

of the Federal Rules of Criminal Procedure. Martin’s motion includes numerous, and very

broad, requests. Moreover, the vast majority of the requests appear moot based on Defense

Counsel’s own statements in the motion regarding the Government’s responses to the various

items.

         Accordingly, as stated on the record at the July 16, 2013 hearing, this Court finds that the

Government has adequately complied with all discovery requests to date. The Court shall deny

this motion without prejudice. If, however, Defense Counsel believe that the records that the

Defense and the Government have are incomplete, Defense Counsel can make arrangements

with the officer in charge of the case to go look at the Westland records and any Inkster and

Wayne records, if they exist.
                                    CONCLUSION & ORDER

         For the reasons set forth above, IT IS ORDERED that the Government’s Motion to

Admit 404(b) Evidence (Docket Entry No. 17) is DENIED.

         As set forth above, IT IS FURTHER ORDERED that Defendant’s related Motion to

Exclude Evidence of Defendant’s Prior Convictions (Docket Entry No. 21) is GRANTED. The

Court’s ruling on this motion, however, does not apply to certain portions of an audio recording

that were referenced by Defense Counsel for the first time at the July 16, 2013 hearing. The

Court shall determine the admissibility of the portion of the audio recording at issue at trial.

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       IT IS FURTHER ORDERED that Defendant’s overly-broad and unspecified discovery

motion (Docket Entry No. 19) is DENIED WITHOUT PREJUDICE.

                                            S/Sean F. Cox
                                            Sean F. Cox
                                            United States District Judge

Dated: July 16, 2013

I hereby certify that a copy of the foregoing document was served upon counsel of record on July
16, 2013, by electronic and/or ordinary mail.

                             S/Jennifer McCoy
                             Case Manager




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